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                   14
                                                           OAKLAND DIVISION
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                   16
                        In re Google RTB Consumer Privacy             Master File No. 4:21-cv-02155-YGR-VKD
                   17   Litigation,
                                                                      GOOGLE’S RESPONSE TO PLAINTIFFS’
                   18                                                 ADMINISTRATIVE MOTION TO CONSIDER
                                                                      WHETHER ANOTHER PARTY’S MATERIALS
                   19   This Document Relates to: all actions         SHOULD BE SEALED (ECF NO. 616)

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ATTORNEYS AT LAW                                                                 GOOGLE’S RESPONSE TO PLAINTIFFS’
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                    1   I.      INTRODUCTION
                    2           Pursuant to Northern District of California Civil Local Rules 7-11 and 79-5(f), Google LLC

                    3   (“Google”) respectfully submits this Response to Plaintiffs’ Administrative Motion to Consider

                    4   Whether Another Party’s Materials Should be Sealed (ECF No. 616) in connection with Plaintiffs’

                    5   Reply to Google’s Opposition to Plaintiffs’ Motion for Class Certification (“Plaintiffs’ Reply”) and

                    6   supporting exhibits (“Exhibits”).

                    7           As set forth below and in the accompanying Declaration of Glenn Berntson, (“Berntson

                    8   Sealing Declaration”), these documents contain highly sensitive, confidential, and proprietary

                    9   information that Google designated as “Confidential” and/or “Highly Confidential—Attorneys’

                   10   Eyes Only” pursuant to the terms of the parties’ Stipulated Protective Order, entered on June 3,

                   11   2021 (the “Protective Order”) (ECF No. 59). Accordingly, Google hereby requests that the Court

                   12   enter an order sealing this information as identified in the attached Proposed Order.

                   13   II.     LEGAL STANDARD
                   14           A party seeking to seal material must establish that the document, or portions thereof, are

                   15   privileged, protectable as a trade secret, or otherwise entitled to protection (i.e., that the information

                   16   is “sealable”). Civ. L.R. 79-5; Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 n.3

                   17   (9th Cir. 2006)). The sealing request must also be narrowly tailored to seek sealing only of

                   18   protectable material. Civ. L.R. 79-5(c).

                   19           For dispositive motions such as class certification motions, courts apply a “compelling

                   20   reasons” test for determining whether a party is entitled to file certain documents under seal.

                   21   Kamakana, 447 F.3d at 1178-80; Fitzhenry-Russell v. Dr. Pepper Snapple Grp., Inc., 326 F.R.D.

                   22   592, 617 (N.D. Cal. 2018) (applying the compelling reasons standard to motions for class

                   23   certification). Sealing is appropriate under the compelling reasons standard where, absent sealing,

                   24   “court files [could] become a vehicle for improper purposes, such as the use of records to . . . release

                   25   trade secrets.” In re Elec. Arts, Inc., 298 F. App’x 568, 569-70 (9th Cir. 2008) (internal quotation

                   26   and citation omitted). For purposes of sealing, a “trade secret may consist of any formula, pattern,

                   27   device or compilation of information which is used in one’s business, and which gives him an

                   28   opportunity to obtain an advantage over competitors who do not know or use it.” Id. (quoting
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                    1   Restatement (First) of Torts § 757, cmt. b (1939)). Other compelling reasons to seal “include when
                    2   a court record might be used . . . ‘as sources of business information that might harm a litigant’s
                    3   competitive standing.’” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096-97 (9th
                    4   Cir. 2016) (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598-99 (1978)).
                    5   III.   COMPELLING REASONS EXIST TO SEAL PORTIONS OF PLAINTIFFS’ REPLY
                    6          Google respectfully requests that the Court seal highly sensitive proprietary information
                    7   about (1) Google’s business strategy, analysis, and revenue data regarding Google Real-Time
                    8   Bidding (“Google RTB”); (2) Google’s internal policies and business strategy related to its
                    9   advertising products more generally; (3) internal metrics associated with the operation of Google’s
                   10   advertising products; (4) technical details regarding internal data logs and systems associated with
                   11   Google RTB, including the collected data stored in such logs and internal metrics, (5) contracts
                   12   between Google and RTB partners, (6) and an employee’s personal information. As explained
                   13   below, such information is vital to Google’s commercial success, and is the sort of “sensitive, non-
                   14   public, confidential, and proprietary business information” that courts routinely seal under the
                   15   compelling reasons standard. Adtrader, Inc. v. Google LLC, No. 17-CV-07082-BLF, 2020 WL
                   16   6391210, at *2 (N.D. Cal. Mar. 24, 2020). Google’s sealing requests are also “narrowly tailored to
                   17   seal only the sealable material” in order to balance the public right of access. Civ. L.R. 79-5(c).
                   18          First, certain portions of the Plaintiffs’ Reply and supporting Exhibits reflect highly
                   19   sensitive and confidential information about Google’s business strategy and analysis regarding
                   20   Google RTB, including discussion about product strategy, revenue metrics, and decision-making.
                   21   (Berntson Sealing Decl. ¶ 4.) This type of highly confidential business information is routinely
                   22   sealed by courts in this district. See Rodman v. Safeway Inc., No. 11-cv-03003-JST, 2014 WL
                   23   12787874, at *2 (N.D. Cal. Aug. 22, 2014) (sealing “internal, nonpublic information discussing
                   24   [the defendant’s] pricing strategy, business decisionmaking [sic], and financial records, which
                   25   would expose [the defendant] to competitive harm if disclosed”); Unlockd Media, Inc. Liquidation
                   26   Tr. v. Google LLC, No. 21-cv-07250-HSG, 2022 WL 4624985, at *2 (N.D. Cal. Sept. 30, 2022)
                   27   (sealing information related to the company’s business model); Kumandan v. Google LLC, No. 19-
                   28   CV-04286-BLF, 2022 WL 17971644, at *1 (N.D. Cal. Oct. 17, 2022) (sealing financial information
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                    1   concerning Google’s business opportunities and risks, and profits and losses). Disclosure of this
                    2   information would cause irreparable harm to Google by providing competitors and business
                    3   partners with insight into Google’s strategic business decisions and policies and priorities related
                    4   to Google RTB, as well as highly confidential financial information related to Google’s advertising
                    5   systems. (Berntson Sealing Decl. ¶ 6.) Furthermore, such disclosure would reveal to competitors
                    6   and the public information about the structure and operation of Google’s internal systems and
                    7   advertising infrastructure as well as capabilities and design of Google’s advertising systems used
                    8   to handle user data. Id. As a result, Google’s competitive standing could be jeopardized if
                    9   competitors and business partners make changes to their business practices in response to this
                   10   information.
                   11          Second, certain portions of Plaintiffs’ Reply and supporting Exhibits also reveal highly
                   12   sensitive and confidential information about Google’s internal policies and business strategy related
                   13   to its advertising products more generally, including discussions about data privacy. (Berntson
                   14   Sealing Decl. ¶ 5.) Courts have found that this type of information warrants sealing as well. Free
                   15   Range Content, Inc. v. Google Inc., No. 14-cv-02329-BLF, 2017 WL 10505263, at *2 (N.D. Cal.
                   16   Mar. 14, 2017) (sealing discussions about “strategy, policy, and practices related to AdSense”).
                   17   Disclosure of this information, like disclosure of Google’s financial and RTB-related strategy
                   18   information, would cause irreparable competitive harm by revealing to its competitors sensitive
                   19   details about Google’s operations, strategies, capabilities, and priorities that could cause these
                   20   actors to alter their practices in relation to competing products. (Berntson Sealing Decl. ¶ 7.)
                   21          Third, Google seeks to seal portions of Plaintiffs’ Reply and certain Exhibits in support of
                   22   Plaintiffs’ Reply which discuss the highly sensitive, confidential, and proprietary technical details
                   23   regarding internal data logs and systems associated with Google RTB, including the collected data
                   24   stored in such logs and associated metrics. (Berntson Sealing Decl. ¶ 8.) Courts in this District,
                   25   including in this litigation, regularly seal similar technical details regarding a company’s data
                   26   infrastructure. In re Google Inc. Gmail Litig., No. 13-MD-02430-LHK, 2013 WL 5366963, at *3
                   27   (N.D. Cal. Sept. 25, 2013) (finding compelling reasons to seal information about structures that
                   28   Google has in place and the order in which emails go through these structures); In re Facebook,
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                    1   Inc. Consumer Priv. User Profile Litig., No. 3:18-MD-02843-VC, ECF No. 1082 (N.D. Cal. Dec.
                    2   6, 2022) (finding good cause to seal certain highly technical information related to its data systems).
                    3   In re Google RTB Consumer Privacy Litig., No. 21-cv-02155-YGR, ECF No. 540 (N.D. Cal. Jun.
                    4   8, 2023) (sealing portions of joint letter brief containing technical details related to Google’s highly
                    5   sensitive data logs and data systems); see also ECF No. 531 (N.D. Cal. Jun. 8, 2023).
                    6          Public disclosure of this information would also create a risk of cyber security threats as
                    7   bad actors would have access to names of Google’s logs or descriptions of particular data systems
                    8   may make it easier for bad actors to piece together previously unconnectable facts. (Berntson
                    9   Sealing Decl. ¶ 10.) This would further jeopardize Google’s data infrastructure as bad actors could
                   10   target and seek to compromise information related to these logs to further infer additional
                   11   information about Google users that Google stores in those logs. (Id.)
                   12          Fourth, Google seeks to seal certain Exhibits which contain excerpted portions of contracts
                   13   between Google and RTB partners. These contracts contain highly sensitive commercial
                   14   information and are designated as “Highly Confidential – Attorneys’ Eyes Only.” Specifically,
                   15   these excerpts contain information about Google’s commercial practices and some of the terms of
                   16   the relationship with third-parties. Public disclosure of these contracts could hinder Google’s
                   17   competitive advantage and future negotiations with potential business partners. (Berntson Sealing
                   18   Decl. ¶ 11.) Courts routinely seal similar types of proprietary information. See Fed. Trade Comm'n
                   19   v. Qualcomm Inc., No. 17-CV-00220-LHK, 2019 WL 95922, at *3 (N.D. Cal. Jan. 3, 2019);
                   20   Nicolosi Distrib., Inc. v. Finishmaster, Inc., No. 18-CV-03587-BLF, 2018 WL 3932554, at *3
                   21   (N.D. Cal. Aug. 16, 2018) (sealing business contracts containing “trade secrets and commercial
                   22   practices, including product rates, rate structures, customers' purchase requirements, and the
                   23   conditions for advance payments, among other proprietary information.”).
                   24          Lastly, Google seeks to seal certain portions of Exhibits which contain confidential contact
                   25   information for a current Google employee who is not a party to this litigation. Courts, including
                   26   for this litigation, regularly seal this information to protect employees’ confidentiality to prevent
                   27   unwanted harassment. See, e.g., Klein v. Meta Platforms, Inc., 2022 U.S. Dist. LEXIS 44076, at
                   28   *12 (N.D. Cal. Mar. 11, 2022); ECF No. 425 (N.D. Cal. Feb. 6, 2023).
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                    1   IV.         CONCLUSION
                    2               For the aforementioned reasons, Google respectfully requests that the Court seal designated

                    3   portions of Plaintiffs’ Reply and select Exhibits in support of Plaintiffs’ Reply.

                    4   Dated: December 20, 2023                                 COOLEY LLP
                    5

                    6                                                            By: /s/ Whitty Somvichian
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